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                         ,
                                 on behalf of


                                                                           5366




         This Settlement and Release Agreement (the “Agreement”) is entered into by and
                                                                     ,
                             “Plaintiffs”) and Defendant                       “          ,”
                              Plaintiffs, the “Parties”).



                      ,
  violated the Fair Labor Standard Act (“FLSA”), the Arkansas Minimum Wage Act (“AMWA”)

                   Plaintiffs’
  “Litigation”); and


                                                    n



                                                                                               ,



                                                             Defendant’s
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                      , on February 14, 2020, the Parties reached a settlement and executed a “Joint
                of Proposed Settlement,” containing all material terms of the settlement, and which


                     ,

                                                                           23



                                                                       31, 2019          o      no




                     ,



                                                                                                  d

                     ,

                                 Defendant’s
                                    d                                                            50

                                                 ,



        that Defendant would certainly appeal any adverse decision, and that Defendant’s ability to

  Plaintiffs’ Counsel are satisfied that the terms and conditions of this Agreement are fair,




  1.



  1.1    “                             ” means those persons employed by
                                                                                                     .



                                                 2
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                                                                                      d
         designated as “employees” by Defendant.

  1.2    “Class Counsel” or “Plaintiffs’ Counsel” means Swartz Swidler, LLC
                   .

  1.3    “Court” means the United States District Court for the Western District of       .

  1.4    “Defendant” or “      ” means

  1.5    “Defendant’s Counsel” means                                                          .

  1.6    “Eligible Settlement Class Member”


  1.7    “Eligible Work Week” means any and all weeks



         employee/independent contractor position, regardless of whether PAM’s designation is


  1.8    “Employer Payroll Taxes” means the employer’s share of



  1.9    “Fairness Hearing”

  1.10   “Gross Settlement Amount” means
           16,500,000.00
                                                                          ’




  1.11   “Last Known Address” or “Last Known Addresses” means the most recently recorded
                                                                                  PAM’s

                                  .

  1.12   “Last Known E mail Address” or “Last Known E mail Addresses” means the most
                                                  PAM’s
                                                                                                  .

  1.13   “Last Known Telephone Number” or “Last Known Telephone Numbers” means the most




                                                 3
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                                     PAM’s
                                                                              .

  1.14   “Litigation” or the “Lawsuit” or the “Action” mean the la                           a
         P.A.M. Transport. Inc.
                     ,          5 16    5337. “Complaint” means the
                                                                                                   .

  1.15   “Named Plaintiffs” means

  1.16   “Net Settlement Fund” means the remainder of the Gross Settlement Amount after
                    , payments, or allocations for: (a) the Settlement Administrator’s fees and
                                            ’s fees and costs for Plaintiffs’ Counsel; (c) Court


  1.17   “Order Granting Final Approval” or “Approval Order”




  1.18   “Order Granting Preliminary Approval”
                                        ,



  1.19   “Parties” collectively means the Named Plaintiffs and Defendant.

  1.20   “Qualified Settlement Fund” or “QSF” means the account established by the Settlement


         Court’s Order(s). Interest, if any, earned on any monies in the QSF will become part of


  1.21   “Releasees” means


  1.22   “Reserve Fund” means a fund in the amount of




  1.23   “Settlement” means the settlement between the Parties embodied and contained in this


  1.24   “Settlement Administrator” means the Settlement Administrator to be selected by
                                       .




                                                  4
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  1.25   “Settlement Agreement” or “Agreement” means this agreement and the exhibits hereto,



  1.26   “Settlement Check” means the check issued to Eligible Settlement Class Members for



  1.27   “Settlement Hearing” means a hearing set by the Court for the purpose of finally



  1.28   “Settlement Notice” means the document entitled Notice of S
                                                                                            .

  2.

  2.1



  2.2



                                               ’          costs




  2.3




  2.4




  2.5                 17

         Settlement of the Class Action Lawsuit and Fairness Hearing (the “Motion for
         Preliminary Approval”).


                                                   5
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  2.6

        2.6.1                  15
                                                    ement Administrator and Plaintiffs’ Counsel a

                            and S
                Eligible Settlement Class Member (“Class List”).

        2.6.2                  15



                all Eligible Class Members using each individual’s last known address and email
                                    ’s records. The Claims Administrator shall take all



                Defendant’s Counsel of any mail sent to Class Members that is returned as



  2.7

        2.7.1
                “opting out.” Additionally, any Eligible Class Member who signed a consent



                she is opting out of the monetary portion of the Settlement (“Opt Out
                Statement”). To be effe


                      60                                                                        60
                                                                    . The end of the “Opt Out
                Period” shall be                                            60
                                                                                  5
                                                                       Defendant’s Counsel in


        2.7.2                                                                                   h
                Opt
                                        ’s Counsel not later than        3
                                                                                    3




                                                6
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                 to Class Counsel and Defendant’s Counsel by both email and overnight delivery.
                                                                                    Out


                                                      .

  2.8

         2.8.1




                    ies of each objection to Class Counsel and Defendant’s Counsel by email and
                                                       3

                                                                 3


         2.8.2




         2.8.3
                                    14

  2.9                                                                                         ong




  2.10                    , Plaintiffs’ Counsel shall file a Motion for Order Granting Final
         Approval of the Class and Collective Action Settlement, along with all attorney’s fees,


  2.11

           5




                                                 7
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  2.12
          120
         by
                                                              n




         any individual’s requests are deemed excessive.




  2.13




         respond, such moneys will be donated to the St. Christopher’s Fund.

  2.14



         Settlement Administrator will notify Plaintiffs’ Counsel and Defendant’




  2.15



                                                                                   by




                                                 8
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  2.16   Plaintiffs’ Counsel and Defendant’
                                                                                ’
         process. The Settlement Administrator will periodically update Plaintiffs’ Counsel and
         Defendant’


  2.17
                                                          ’s Counsel and Plaintiffs’ Counsel


  2.18




  3.

  3.1


                          16,500,000.00


                Administrator’s fees and costs and any claim for attorney’



                            1




                Christopher’s Fund, a 501(c)(1) Organization which benefits truck drivers who
                                        The St. Christopher’s Fund is located at: St. Christopher
                     , . . Box 30763,


                                .




                                                 9
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  3.2                                                   ’

              In their Motion for Order Granting Final Approval, Plaintiffs’ Counsel shall ask,



                        ’s fees. In addition, Plaintiffs’

                          Plaintiffs’ counsel will submit an accounting of all costs in which it


                           ’
                                                    ’




  3.3


              $50,000




                     Opt



                     1.
                     2.
                     3.
                     4.
                     5.
                     6.
                     7.
                     8.
                     9.
                     10.
                     11.
                     12.
                     13.
                     14.


                                                  10
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                    15.
                    16.
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                    19.
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                    21.
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                    25.
                    26.
                    27.
                    28.
                    29.
                    30.
                    31.

                 b. Opt


                    1.
                    2.
                    3.
                    4.
                    5.
                    6.
                    7.

  3.4

                                                       ount to Plaintiffs’ Counsel for any
                                 ’s fees and costs will be wired to Plaintiffs’ Counsel by




                          11




                                         11
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                     where the Eligible Class Member was classified as an “independent
                     contractor” by PAM.



                                                                            50,000




              Christopher’s Fund, a 501(c)(3) charity which benefits financially distressed truck




                                       35

                     65

                     non




                                              12
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              Internal Revenue Service (“IRS”) and the payee under the payee’s name and
                                                                                      ,



              payee’s name and Social Security number on an IRS Form 1099. The Settlement



                                   2 and Form 1099. P                     ’

              IRS and to each payee under the payee’s name and taxpayer identification
                                                                              an IRS Form




                                              ’


                             Neither Plaintiffs’ Counsel nor Defendant’



  3.5



                                                     .

  4.

  4.1                                                        out upon the Court’s Order




                                             13
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        non




        “independent contractor” or other similar status whereby PAM designated the driver to be


  5.

  5.1




  5.2
                             ,
        the “Joint Memorandum of Proposed Settlement”




                              .

  6.    PARTIES’ AUTHORITY

  6.1


  7.

  7.1
        and appropriate to obtain the Court’s approval of this Agreement and all of its terms and




                                                14
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        Agreement, Plaintiffs’ Counsel shall, with the assistance
        counsel, take all necessary steps to secure the Court’s approval of this Agreement.

  8.

  8.1




                         , Esq.



                                  7420




                        , Esq.

        7805 SW 6

                                 0002



                           Esq.




                         , Esq.




  9.


                                                15
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  9.1




  10.

  10.1



  10.2   No Assignment. Plaintiffs’ Counsel and Plaintiffs represent and warrant that they have




  10.3




  10.4



  10.5   Arms’ Length Transaction; Materiality of Terms
         terms and conditions of this Agreement at arms’ length. All terms and conditions of this




  10.6



  10.7




  10.8




                                                16
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  10.9




  10.10
          this Agreement, whether purportedly made before or after the Court’s approval of this




  10.11



  10.12



  10.13




  10.14                                                                      ’s authorized




                                                 17
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    \'I'E -{GREf, TO THESE TER]\IS.

                                      P.A.l\1. Transport, Inc.


                                      By:

                                      Its:

                                      Date: Z'/b'Zo
                                      DI('KINSON \I'RIGIIT, PLL(':



                                      Couirsel lbiDefendant, signed with Authority from PAM

                                      o^r. 2-         lL - zozo


    FOR THE PLAINTIFFS AND THE CERTIFIED CLASS:



                                              David Bro*re, Named Plaintiff


                                      Date:



                                      By.
                                              Antonio Caldwell, Named Plaintiff


                                      Date:



                                      By:
                                              Lucretra Hall, Named Plaintiff



                                      Date:




                                               -l8-
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                                . . .




                                        ______________________________




                                                      , PLLC




                                         18
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                                        19
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                   UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF ARKANSAS




               A federal court authorized this notice. This is not a solicitation from a lawyer.

   The settlement will provide $16,500,000 to resolve all claims that: (1) P.A.M. Transport, Inc. (“PAM”)
    failed to pay its over-the-road employee drivers at least minimum wage for all hours worked; (2) PAM
    made unlawful deductions from drivers’ wages through the use of an “escrow” account; and (3) PAM
    charged usurious interest rates on employee advances. The settlement resolves all claims during the
    Class Period of           9, 2013                          .

   In addition to the financial payment, PAM has agreed that it will no longer charge employees a $10
    service fee for wage advances, and has agreed that it will no longer withhold compensation due to drivers
    who are late turning in paperwork.

   The court-appointed lawyers will ask the Court for up to 33 1/3% of the settlement amount as fees for
    investigating the case, litigating the case, and negotiating the settlement.

   The two sides disagree as to who would win, and how much could be won, if the case went to trial.

   Your legal rights will be affected whether you act or don’t act. Read this notice carefully.

                       YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT:
                           No action is required of you to remain in the case. If the Court grants final
Do Nothing
                           approval of the settlement, you will get a payment.

                           Get no payment. This is the only option that allows you to ever be part of any
Exclude Yourself
                           other lawsuit against PAM for the legal claims in this case.

Object                     Write to the Court about what you don’t like in the settlement.

Go to a Hearing            Ask to speak in Court about the fairness of the settlement.

   These rights and options – and the deadlines to exercise them – are explained in this notice.

   The Court in charge of this case still has to decide whether to approve the settlement. Payments will be
    made if the Court approves the settlement and after any appeals are resolved. Please be patient.


                                 QUESTIONS? CALL CLASS COUNSEL OR
                                  VISIT WWW.SWARTZ-LEGAL.COM
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                       ,
                                                                                05366


              v.




                   .




                                        1. Why did I get this notice package?


Transport, Inc. (“PAM”)                                                                    (“Class Period”).
                  ,                     P.A.M. Transport, Inc., 16   5366 (the “Lawsuit”), is pending in the U
                                                                      (the “Federal Court”).


                                            settlement (“Settlement”) of the Lawsuit. The Settlement provides for
                                                                                          ,
$16,500,000) fund (“Settlement Fund”). The Federal Court will conduct a hearing (“Fairness Hearing”) to determine if the




                                2. What is this lawsuit about and why did it settle?

                                    the federal Fair Labor Standards Act (“FLSA”)
(“AMWA”), the Arkansas Wage Payment Law,




                                                           1
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14, 2020.

                                                                 .


The employees’ attorneys, who are referred to as “Class Counsel,” believe that the Settlement b

                                                         ,
                                              .


     arties’ attorneys negotiated the Settlement after


class members. The Federal Judge overseeing the Lawsuit has “preliminarily approved” the Settlement as fair. The Federal Ju
                                                                                                             7

                           3. What does the Settlement provide and how much will I be paid?

                                                                                                                   $16,500,000)
to resolve all claims asserted in the Lawsuit. Your “Individual Settlement Payment” will be calculated based upon the settlem
                                                                                                                    ss Counsel’s

$150.00,


                                                  ’
                    “Net Fund”) will be distributed to all Class Members who do not opt out of the Settlement. Class Members
                                                .




                                                             .

                                                                         on                                      5,500,000
                                                                                                                         .




                                                                                                      logs, and PAM’s payroll,
                       ,



                                                                     2
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                                                                                                          0
$150,000.




                                                                                     ,
requested because the case could not have gone forward, and the results could not have been achieved, absent these drivers’

                                                                                               198,500.

                                             4. How can I receive my payment?

                                                               .
                                  xxxx
                                              xxxx

                                                                                   2020.

                                         5. What am I giving up as a Class member?


            .

      the Court’s Order Entering Final Approval you                                                       you

                                                                                                                           ,
                                                                                     un




challenged and/or found to be erroneous) as an “independent contractor” or other                                     you



                               6. How do I exclude myself (opt-out) from this Settlement?

                                                         5




                                                 xxxx                                      .
                                      60




                                                              3
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                                   7. Final Approval of Settlement at Fairness Hearing

                                                                                            on                    509
                                                  ,           ,          72701




                                            8. How do I object to the Settlement?




                                                                                 xxx) xxx xxxx




                                                                                     5 6      05366
                                           60




            reclosed from objecting to the fairness and adequacy of the proposed Settlement, the payment of attorneys’ fees,




                                                                                                    5
                                                                  6
                                                         6



                             10. Are there more details about the Settlement? Questions?




                     .   Class Counsel’s



                                           11. Do I have an attorney in this case?


                                                                                                               nsel’s contact
information is below. You will not be charged any money for Class Counsel’s representation of you

                                                              4
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                                                you




                                                        7420
                                                      7417
                                                           9501
                 34




                                                        0002
  7805 SW 6                                           0052
              33324




                                        5
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